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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-CR-20102-SCOLA

   UNITED STATES OF AMERICA,

   vs.

   KENSY GARCIA TORRES,

                  Defendant.
   - - - - - - - - - - - - - - -I
                                         PLEA AGREEMENT

          The United States Attorney's Office for the Southern District of Florida ("this Office") and

   KENSY GARCIA TORRES (hereinafter referred to as the "Defendant") enter into the following

   agreement:

          I.      The Defendant agrees to plead guilty to Count One of the indictment, which count

   charges the Defendant with Conspiracy to Commit Money Laundering in violation of Title 18,

   United States Code, Sections l 956(h).

          2.      The Defendant is aware that the sentence will be imposed by the Court after

   considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter

   "Sentencing Guidelines"). The Defendant acknowledges and understands that the Court will

   compute an advisory sentence under the Sentencing Guidelines and that the applicable guidelines

   will be determined by the Court relying in part on the results of a pre-sentence investigation by the

   Court's probation office, which investigation will commence after the guilty plea has been entered.

   The Defendant is also aware that, under certain circumstances, the Court may depart from the

   advisory sentencing guideline range that it has computed and may raise or lower that advisory

   sentence under the Sentencing Guidelines. The Defendant is further aware and understands that
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   the Court is required to consider the advisory guideline range determined under the Sentencing          I
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   Guidelines but is not bound to impose a sentence within that advisory range; the Court is permitted
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   to tailor the ultimate sentence in light of other statutory concerns, and such sentence may be either   i
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   more severe or less severe than the Sentencing Guidelines' advisory range. Knowing these facts,         t
   the Defendant understands and acknowledges that the Court has the authority to impose any
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   sentence within and up to the statutory maximum authorized by law for the offense identified in         l
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   paragraph 1 and that the Defendant may not withdraw the plea solely as a result of the sentence

   imposed.                                                                                                I
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          3.      The Defendant also understands and acknowledges that the Court may impose a
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   statutory maximum term of imprisonment of up to 20 years, followed by a term of supervised

   release of up to 3 years. In addition to a term of imprisonment and supervised release, the Court
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   may impose a fine of up to $500,000 and may order forfeiture and restitution.

          4.      The Defendant further understands and acknowledges that, in addition to any

   sentence imposed under paragraph 4 of this agreement, a special assessment in the amount of $100
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   will be imposed on the Defendant. The Defendant agrees that any special assessment imposed              I
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   shall be paid at the time of sentencing. If a Defendant is financially unable to pay the special        Ii
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   assessment, the Defendant agrees to present evidence to this Office and the Court at the time of
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   sentencing as to the reasons for the Defendant's failure to pay.

          5.      This Office reserves the right to inform the Court and the probation office of all       Il
   facts pertinent to the sentencing process, including all relevant information concerning the offenses   [

   committed, whether charged or not, as well as concerning the Defendant and the Defendant's

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   background. Subject only to the express terms of any agreed-upon sentencing recommendations

   contained in this agreement, this Office further reserves the right to make any recommendation as
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   to the quality and quantity of punishment.
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          6.      The Defendant is aware that the sentence has not yet been determined by the Court.
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   The Defendant may receive, whether that estimate comes from the Defendant's attorney, this                Ir
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   Office, or the probation office, is a prediction, not a promise, and is not binding on this Office, the
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   probation office, or the Court. The Defendant understands further that any recommendation that            t
   this Office makes to the Court as to sentencing, whether pursuant to this agreement or otherwise,         rf
   is not binding on the Court and the Court may disregard the recommendation in its entirety. The

   Defendant understands and acknowledges, as previously acknowledged in paragraph 3 above, that

   the Defendant may not withdraw her plea based upon the Court's decision not to accept a

   sentencing recommendation made by the Defendant, this Office, or a recommendation made

  jointly by the Defendant and this Office.

          7.      This Office agrees that it will recommend at sentencing that the Court reduce by

   two levels the sentencing guideline level applicable to the Defendant's offense, pursuant to Section

   3El.l(a) of the Sentencing Guidelines, based upon the Defendant's recognition and affirmative

   and timely acceptance of personal responsibility. If at the time of sentencing the Defendant's

   offense level is determined to be 16 or greater, this Office will file a motion requesting an

   additional one level decrease pursuant to Section 3E 1.1 (b) of the Sentencing Guidelines, stating

   that the Defendant has assisted authorities in the investigation or prosecution of the Defendant's

   own misconduct by timely notifying authorities of the Defendant's intention to enter a plea of

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   guilty, thereby permitting the government to avoid preparmg for trial and permitting the

   government and the Court to allocate their resources efficiently. This Office, however, will not be

   required to make this motion if the Defendant: (I) fails or refuses to make a full, accurate and

   complete disclosure to the probation office of the circumstances surrounding the relevant offense

   conduct; (2) is found to have misrepresented facts to the government prior to entering into this plea

   agreement; or (3) commits any misconduct after entering into this plea agreement, including but

   not limited to committing a state or federal offense, violating any term of release, or making false

   statements or misrepresentations to any governmental entity or official.

           8.     This Office and the defendant agree that, although not binding on the

   probation office or the Court, they will jointly recommend that the Court make the

   following finding and conclusion as to the sentence to be imposed:

                  (a)   The parties agree that the Sophisticated Laundering Enhancement under
                        § 2S I. l(b)(3) does not apply.

                  (b)   The parties agree that § 2S 1.1 (b)(2)(B) does not apply.

          9.      The Defendant agrees that she shall cooperate fully with this Office by: (a)

   providing truthful and complete information and testimony, and producing documents, records and

   other evidence, when called upon by this Office, whether in interviews, before a grand jury, or at

   any trial or other Court proceeding; (b) appearing at such grand jury proceedings, hearings, trials,

   and other judicial proceedings, and at meetings, as may be required by this Office; and (c) if

   requested by this Office, working in an undercover role under the supervision of, and m

   compliance with, law enforcement officers and agents. In addition, the Defendant agrees that he



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  will not protect any person or entity through false information or omission, that he will not falsely

   implicate any person or entity, and that he that he will not commit any further crimes.

          I 0.    This Office reserves the right to evaluate the nature and extent of the Defendant's

  cooperation and to make that cooperation, or lack thereof, known to the Court at the time of

  sentencing. Ifin the sole and unreviewablejudgment of this Office the Defendant's cooperation

  is of such quality and significance to the investigation or prosecution of other criminal matters as

  to warrant the Court's downward departure from the advisory sentencing range calculated under

  the Sentencing Guidelines and/or any applicable minimum mandatory sentence, this Office may

  make a motion prior to sentencing pursuant to Section 5K 1.1 of the Sentencing Guidelines and/or

  Title 18, United States Code, Section 3553(e), or subsequent to sentencing pursuant to Rule 35 of

  the Federal Rules of Criminal Procedure, informing the Court that the Defendant has provided

  substantial assistance and recommending that the Defendant's sentence be reduced.                The

  Defendant understands and agrees, however, that nothing in this agreement requires this Office to

  file any such motions, and that this Office's assessment of the quality and significance of the

  Defendant's cooperation shall be binding as it relates to the appropriateness of this Office's filing

  or non-filing of a motion to reduce sentence.

          11.    The Defendant understands and acknowledges that the Court is under no obligation

  to grant a motion for reduction of sentence filed by this Office. In addition, the Defendant further

  understands and acknowledges that the Court is under no obligation of any type to reduce the

  Defendant's sentence because of the Defendant's cooperation.

          12.    The defendant agrees, in an individual and any other capacity, to forfeit to the

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  United States, voluntarily and immediately, any right, title, and interest to any property, real or

  personal, involved in the commission of the offense, in violation of 18 U.S.C. § 1956, or any

  property traceable to such property, pursuant to 18 U.S.C. § 982(a)(l)(A), and the provisions of

  21 U.S.C. § 853. In addition, the defendant agrees to forfeiture of substitute property pursuant to

  21 U.S.C. § 853(p). The property subject to forfeiture includes, but is not limited to:

                     a. a forfeiture money judgment in the sum of $121,382.00 in United States
                     currency, which sum represents the value of any property involved in the
                     defendant's commission of the offense, or any property traceable to such
                     property.

          13.    The defendant further agrees that forfeiture is independent of any assessment, fine,

  cost, restitution, or penalty that may be imposed by the Court. The defendant knowingly and

  voluntarily agrees to waive all constitutional, legal, and equitable defenses to the forfeiture,

  including excessive fines under the Eighth Amendment to the United States Constitution. In

  addition, the defendant agrees to waive: any applicable time limits for administrative or judicial

  forfeiture proceedings, the requirements of Fed. R. Crim. P. 32.2 and 43(a), and any appeal of the

  forfeiture.

          14.   The defendant also agrees to fully and truthfully disclose the existence, nature, and

  location of all assets in which the defendant has or had any direct or indirect financial interest or

  control, and any assets involved in the offense of conviction. The defendant agrees to take all

  steps requested by the United States for the recovery and forfeiture of all assets identified by the

  United States as subject to forfeiture. This includes, but is not limited to, the timely delivery upon

  request of all necessary and appropriate documentation to deliver good and marketable title,



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   consenting to all orders of forfeiture, and not contesting or impeding in any way with any criminal,

   civil or administrative forfeiture proceeding concerning the forfeiture.

          15.     Defendant recognizes that pleading guilty may have consequences with respect to

  the Defendant's immigration status if the Defendant is not a citizen of the United States. Under

  federal law, a broad range of crimes are removable offenses, including the offense to which

  Defendant is pleading guilty. Removal and other immigration consequences are the subject of a

  separate proceeding, however, and Defendant understands that no one, including the Defendant's

  attorney or the Court, can predict to a certainty the effect of the Defendant's conviction on the

  Defendant's immigration status. Defendant nevertheless affirms that the Defendant wants to plead

  guilty regardless of any immigration consequences that the Defendant's plea may entail, even if

  the consequence is the Defendant's automatic removal from the United States.




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  16.     This is the entire agreement and understanding between this Office and the Defendant.

  There are no other agreements, promises, representations, or understandings.


                                              JUAN ANTONIO GONZALEZ
                                              UNITED STA TES ATTORNEY


                               By:
                                              CHRISTINE HERNA DEZ
                                              ASSISTANT UNITED STATES ATTORNEY


  Date:   5/10(1-2--           By:
                                                          A.COBS
                                              COUN      L FOR DEFENDANT


                               By:
                                              KENS£!~ TORRES
                                              DEFENDANT




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